 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.1 Filed 06/07/22 Page 1 of 32




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

KYLIE OSSEGE, an individual,

     Plaintiff,
v.                                             Case No: 22-cv
                                               Hon.
                                               Mag.
OXFORD COMMUNITY SCHOOL
DISTRICT, a municipal corporation; TIMOTHY
THRONE, former Superintendent; STEVEN
WOLF, Principal; NICHOLAS EJAK, Dean of
Students; SHAWN HOPKINS, Counselor;

     Defendants.

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__________________________________________________________________

              There are four possible companion cases currently
             pending before the Court which arise out of the same
                          transaction or occurrence:
                   2:22-cv-11113-MAG-APP (filed 05/22/2022)
                   2:22-cv-10805-MAG-APP (filed 04/14/2022)


                                      1
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.2 Filed 06/07/22 Page 2 of 32




                     2:22-cv-10407-MAG-APP (filed 02/24/2022)
                      2:21-cv-12871-MAG-APP (filed 12/09/2021)


                COMPLAINT AND DEMAND FOR JURY TRIAL
       Plaintiff Kylie Ossege, by and through her attorneys, Deborah Gordon Law,

states the following for her Complaint against the above-named Defendants:

                              JURISDICTION & VENUE

       1.      This action arises under the United States Constitution and the laws of the

United States, particularly the Fourteenth Amendment to the United States

Constitution and 42 U.S.C. § 1983, and under the statutes and common law of the State

of Michigan.

       2.      This Court has subject matter jurisdiction over Plaintiff’s federal claims

pursuant to 28 U.S.C. §§ 1331 and 1343, and 42 U.S.C. § 1983.

       3.      This Court should exercise supplemental jurisdiction over Plaintiff’s state

law claims, pursuant to 28 U.S.C. § 1367, because those claims form part of the same

case or controversy and arise from the same set of facts.

       4.      Venue is proper, pursuant to 28 U.S.C. § 1391, because all the events

giving rise to the claims occurred within this judicial district and because all Defendants

reside within this judicial district.

       5.      The amount in controversy in this matter exceeds $75,000.




                                             2
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.3 Filed 06/07/22 Page 3 of 32




                                   THE PARTIES

      6.     Plaintiff Kylie Ossege is a recent graduate of Oxford High School. She

resides in Oakland County, Michigan. At the time of November 30, 2021 shooting,

Plaintiff was a 17-year-old high school senior.

      7.     Defendant Oxford Community School District (“OCSD”) is a municipal

corporation organized in Oxford, Michigan. OCSD operates the public schools in

Oxford, Michigan, including Oxford High School. OCSD controls Oxford High

School’s funding, training, staffing, staff supervision, and is responsible for the safety

and security of the students.

      8.     Defendant Timothy Throne was, at all times relevant herein,

Superintendent of OCSD.

      9.     Defendant Steven Wolf was, at all times relevant herein, the Principal of

Oxford High School.

      10.    Defendant Nicholas Ejak was, at all times relevant herein, Dean of

Students at Oxford High School.

      11.    Defendant Shawn Hopkins was, at all times relevant herein, a guidance

counselor at Oxford High School.

                                STATEMENT OF FACTS

      12.    This case arises out of the deadliest school shooting in Michigan history.




                                            3
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.4 Filed 06/07/22 Page 4 of 32




       13.    On November 30, 2021, a 15-year-old Oxford High School sophomore

(“EC”) entered the school building with a gun in his backpack, and subsequently

opened fire in the school, injuring seven people and killing four students.

       14.    Plaintiff sustained a “through and through” gunshot wound to the right

shoulder during the shooting.

       15.    In the months before the shooting, EC was known to OCSD staff,

teachers, and administrators as a student with mental health issues.

       16.    EC’s behavior indicated that he was experiencing psychiatric distress,

suicidality, and possible child abuse or neglect.

       17.    At some time prior to the November 30th shooting, EC made several

threatening posts to his publicly accessible social media accounts including countdowns,

and threats of bodily harm and death.

       18.    In early November 2021, Defendant Hopkins, EC’s assigned guidance

counselor, received an email from EC’s teacher stating that EC seemed “sad.”

       19.    In the weeks preceding the November 30th shooting, OCSD

administrators, including Throne and Wolf, received several reports from parents and

students of violent threats directed towards the district and/or students in the district.

Specifically, against Oxford High School and its students.

       20.    On November 11, 2021, EC brought the severed head of a bird to school

and placed it in the boys’ bathroom.



                                             4
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.5 Filed 06/07/22 Page 5 of 32




       21.    Students discovered the severed bird’s head in the bathroom reported it

to Wolf.

       22.    Neither Wolf, nor anyone from the OCSD administration, informed

parents or students of the incident.

       23.    A reasonable investigation would have revealed that EC was responsible

for the incident.

       24.    EC recorded himself decapitating the bird and saved the video to his cell

phone. He also wrote about the decapitation in his journal.

       25.    On November 12, 2021, Oxford High School administration sent an email

to students and parents stating “[p]lease know that we have reviewed every concern

shared with us and investigated all information provided….The safety and security of

our students and staff is always our top priority. To accomplish this task, OHS has

numerous highly-trained professionals who work to keep our building safe and secure.”

       26.    On or around November 16, 2021, multiple parents contacted Wolf

directly with their concerns about threats to students being made on social media.

       27.    Parents also contacted Wolf directly regarding their concerns about

multiple severed animal heads at Oxford High School.

       28.    One parent wrote to Wolf stating “I know its been investigated but my

kid doesn’t feel safe at school…He didn’t even want to go back to school today.”

       29.    OSCD administrators, including Throne and Wolf, ignored and dismissed

the reports of threats against Oxford High School and its students.
                                           5
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.6 Filed 06/07/22 Page 6 of 32




      30.    On November 16, 2021, Wolf sent an email to parents and students

stating “I know I’m being redundant here, but there is absolutely no threat at the

HS…large assumptions were made from a few social media posts, then the assumptions

evolved into exaggerated rumors.”

      31.    The same day—November 16th—Throne made an announcement on the

Oxford High School loudspeaker instructing students to stop spreading and relying on

information obtained from social media. Throne reiterated that there was no threat to

Oxford High School students.

      32.    On November 26, 2021, EC’s father gifted him a Sig Saur 9mm semi-

automatic handgun.

      33.    The same day, EC posted a picture of the gun on his publicly accessible

social media account with the caption “just got my new beauty today [heart eyes emoji]

Sig Saur 9 mm. Any questions I will answer.”

      34.    OSCD students, parents, and Defendants were able to view EC’s post.

      35.    On November 27, 2021, EC’s mother posted a picture of a target from a

shooting range on her publicly accessible social media account. Referring to the

handgun purchase, the caption stated, “mom and son day testing out his new Christmas

present.”

      36.    On the morning of November 29, 2021, teacher Jacquelyn Kubina

discovered that EC was using his cell phone in class to research ammunition for

firearms.
                                          6
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.7 Filed 06/07/22 Page 7 of 32




      37.    Kubina reported the incident via email to Ejak and the school’s

Restorative Practice Coordinator Pamela Parker-Fine. The email was also forwarded to

Hopkins.

      38.    Fine removed EC from the classroom and called him into her office with

Hopkins. This was the first meeting of that day with E.C. and administration.

      39.    The meeting lasted only approximately five minutes. Fine and Hopkins

merely informed EC that researching bullets in class was not “school appropriate

behavior.”

      40.    During the meeting, EC informed Fine and Hopkins that over the

previous weekend, he had gone to the shooting range with his mother to shoot guns,

and that shooting guns was a family hobby.

      41.    OCSD’s Administrative Guideline Manual identifies “inappropriate

access to, possession of, and use of firearms” as an “early warning sign of possible

school violence.”

      42.    Fine and Hopkins allowed EC to return to class.

      43.    After the meeting, Fine called EC’s mother and left a voicemail notifying

her of the incident.

      44.    Pursuant to OCSD policy, Fine did not ask for or require a return phone

call from EC’s mother.

      45.    EC’s mother did not return the phone call



                                          7
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.8 Filed 06/07/22 Page 8 of 32




      46.    Later on November 29th, EC posted to his publicly accessible Twitter

account “Now I am become Death, the destroyer of worlds. See you tomorrow

Oxford.”

      47.    On November 30, 2021, at approximately 8:30 am, teacher Allison

Karpinski witnessed EC watching violent videos of shootings on his phone in class.

      48.    Karpinski immediately emailed Hopkins to notify him of EC’s conduct.

      49.    At approximately 9:00 am, EC’s math class was conducting a test review.

EC drew a picture of a Sig Saur 9 mm handgun. Under the drawing of the gun he wrote

“The thoughts won’t stop. Help me.” Next to the gun, EC drew a person with gunshot

wounds in their abdomen and chest and blood coming out of their mouth. He wrote

next to the person “blood everywhere” and drew a shell casing or bullet. EC also drew

a laughing/crying emoji and wrote “my life is useless” and “the world is dead.”

      50.    Teacher Becky Morgan discovered the picture EC had drawn, took a

photo of it and immediately reported it to Hopkins and Ejak.

      51.    OCSD’s Administrative Guideline Manual identifies “expression[s] of

violence in writings and drawings” as an “early warning sign of possible school

violence.”

      52.    At some point that morning, EC altered the picture he had drawn. He

scratched out the gun, the gunshot victim, and the words “Help me,” “my life is

useless,” “blood everywhere,” and “the world is dead.” EC added new, sarcastic



                                          8
 Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.9 Filed 06/07/22 Page 9 of 32




comments including “video game this is,” “harmless act,” “I love my life so much!!!!,”

“OHS rocks!,” and “we’re all friends here.”

      53.     Around 9:00 am, Ejak went to Hopkins office to let him know he had

seen the photos of EC’s drawings and writings.

      54.     Hopkins went to EC’s math class, removed EC from the classroom, and

took him to the counseling office, where Ejak was waiting. Hopkins also removed EC’s

math assignment, containing the drawings and writings, from the classroom and

brought them to the counseling office. EC’s backpack remained in the math classroom.

      55.     Ejak returned to the math classroom and brought EC’s backpack to the

counseling office.

      56.     Neither Hopkins, nor Ejak, nor anyone else, at any point, searched EC’s

backpack, locker, or other possessions, to determine whether he had access to a gun or

other weapon he could use to harm himself or others. Nor was EC asked whether he

was in possession of or had access to a firearm or other weapon.

      57.     In the counseling office, Hopkins asked EC about the violent shooting

video he had been watching in class that morning.

      58.     EC told Hopkins and Ejak that the video was from a video game.

      59.     Neither Hopkins nor Ejak endeavored to watch the video, or to confirm

the accuracy of EC’s response.

      60.     Hopkins questioned EC about the drawings and words on his math

assignment.
                                          9
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.10 Filed 06/07/22 Page 10 of 32




      61.    EC told Hopkins that the drawings were images from a video game he

wanted to design.

      62.    Hopkins knew that EC was not being honest. Hopkins responded by

saying “this does not sound like a video game.”

      63.    According to Hopkins, EC “became sad” and changed his demeanor. EC

“started pausing more in his speech. He then described some [upsetting] things that had

happened recently in his life.”

      64.    EC went on to tell Hopkins and Ejak about the recent death of a

grandparent, recent death of a family dog, and the loss of a close friend who had recently

moved to a different school

      65.    OCSD’s Administrative Guideline Manual identifies “excessive feelings of

isolation and being alone” as an “early warning sign of possible school violence.”

      66.    According to Hopkins, at that point he determined that EC was suicidal.

      67.    OCSD’s Administrative Guideline Manual contains a Suicide Intervention

Process which applies “any time a staff member encounters a situation in which a

student appears to be contemplating suicide.”

      68.    Pursuant to the Suicide Intervention Process, staff members are required

to “converse with the student immediately to determine if s/he has dangerous

instrumentalities (weapon, substance, or other material capable of inflicting a mortal

wound) on or nearby his/her person.”



                                           10
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.11 Filed 06/07/22 Page 11 of 32




      69.     Ejak and Hopkins never asked EC if he had a weapon on or nearby his

person.

      70.     Hopkins asked EC if he was a threat to himself or others.

      71.     EC responded “I can see why this looks bad. I’m not going to do

anything.”

      72.     Hopkins did not believe EC and concluded that he was a threat to himself

“in spite of his statement.”

      73.     Where a student “is in imminent danger of harming himself” the Suicide

Intervention Process requires the staff member to contact an outside agency

“immediately, give them the facts, request them to intervene, and follow their

instructions.”

      74.     If the agency declines to intervene before the end of the school day, the

staff member is required to call the “emergency squad.”

      75.     Neither Ejak or Hopkins contacted any outside agencies. They did not

request intervention by any outside agency and they did not contact the “emergency

squad.”

      76.     Hopkins called EC’s parents, received no answer, and left a voicemail for

his mother.

      77.     When EC’s mother called back, Hopkins put the call on speaker, allowing

Ejak and EC to hear the conversation.



                                          11
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.12 Filed 06/07/22 Page 12 of 32




       78.    Hopkins told EC’s mother that he was concerned about EC based on the

drawings and writings EC made on his math assignment and on the conversation they

had in the counseling office.

       79.    Hopkins asked EC’s mother to come to the school for a meeting. She

replied that she was working but would try to get a hold of EC’s father. She then called

back and stated she would be there in thirty minutes.

       80.    While they waited for EC’s parents, Hopkins, believing EC to be a threat

to himself and/or others, stayed in the counseling office with EC.

       81.    EC’s parents arrived around 10:30 am. They did not greet, touch, hug, or

show affection towards EC upon arrival.

       82.    Ejak returned to the counseling office for the meeting between himself,

Hopkins, EC’s parents and EC.

       83.    During the meeting, Hopkins outlined EC’s recent behavior, explained his

concerns about EC and his conclusion that EC was suicidal.

       84.    Hopkins advised EC’s parents that EC needed to start counseling as soon

as possible, “today, if possible.”

       85.    EC parents responded that starting counseling that day was not possible

because they needed to return to work.

       86.    Hopkins told EC’s parents that they needed to provide EC with mental

health treatment within 48 hours and that if they didn’t, he would report them to Child

Protective Services (“CPS”).
                                          12
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.13 Filed 06/07/22 Page 13 of 32




       87.    EC’s parents refused to take their son home from school for the day.

       88.    At the end of the meeting, EC’s mother asked, “are we done?”

       89.    Hopkins asked Ejak “if there was any disciplinary reason why [EC] could

not return to class.”

       90.    Ejak responded “no.”

       91.    The Suicide Intervention Process directs that “under no circumstances is

a suicidal student to be left alone.”

       92.    Hopkins and Ejak knew that the meeting had worsened EC’s mental and

emotional state.

       93.    Hopkins and Ejak knew, based on Hopkins conversation with EC from

the day before regarding the shooting range, that EC had access to firearms.

       94.    Hopkins and Ejak knew that EC was obsessed with guns and gun

violence, that he had been searching for bullets online, that he had been viewing violent

videos of shootings.

       95.    Both Hopkins and Ejak knew that EC had made drawings of guns, gun

violence, and bloodied gunshot wound victims.

       96.    Both Hopkins and Ejak knew or should have known, that EC was suicidal,

posed a threat to himself and others, and should not be left unsupervised.

       97.    Despite their knowledge of the threat EC posed and the need to supervise

him, Hopkins and Ejak concealed these facts from teachers, staff and law enforcement.



                                           13
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.14 Filed 06/07/22 Page 14 of 32




       98.    Hopkins and Ejak had the authority to maintain EC in a safe, supervised

environment, such as the counseling office, where he could be supervised.

       99.    Hopkins and Ejak also had the authority to search EC’s backpack, locker,

and other possessions, based on their assessment that EC was suicidal and the probable

cause to think that EC was a danger to himself and others.

       100. Hopkins and Ejak misused their authority by sending EC back to class,

along with his unsearched backpack.

       101. Because Hopkins knew that EC was a danger to himself and others,

Hopkins tracked EC’s attendance remotely throughout the day to ensure he made it to

his other classes.

       102. Less than two hours after being sent back to class by Ejak and Hopkins,

EC went to the boys’ bathroom with his backpack and emerged with his loaded

handgun.

       103. EC opened fire into the Oxford High School hallway.

       104. Plaintiff suffered a “through and through” gunshot wound to the right

shoulder. She suffered a spinal cord injury, a broken clavicle, and two broken ribs.

                               CAUSES OF ACTION

                                COUNT I
  State Created Danger (Fourteenth Amendment of the U.S. Constitution; 42
                               U.S.C. § 1983)
                      Against Defendants Ejak and Hopkins

       105. Plaintiff repeats and realleges the foregoing allegations.

                                           14
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.15 Filed 06/07/22 Page 15 of 32




        106. Under the Fourteenth Amendment, the state deprives a person of a

substantive due process right if it affirmatively places the person in a position of danger.

        107. Plaintiff is a citizen of the United States and entitled to all rights, privileges,

and immunities accorded to all citizens of the State of Michigan and of the United

States, including the clearly established right under the Fourteenth Amendment, to be

free from danger created and/or increased by Defendants, as enforced by 42 U.S.C. §

1983.

        108. Any reasonable person would be aware of this clearly established right.

        109. Ejak and Hopkins, acting with knowledge of this clearly established right

but in deliberate indifference to it, violated Plaintiff’s right to be free from state created

and/or increased danger, as secured by the Fourteenth Amendment, by taking

affirmative actions under the color of law which disrupted the status quo and created

and/or increased the danger of violence to Plaintiff that did not exist in the status quo

prior to Ejak and Hopkins’ affirmative actions.

        110. Plaintiff’s injuries would not have occurred but-for the affirmative actions

of Ejak and Hopkins.

        111. At all relevant times, Ejak and Hopkins were acting under the color of

state law as employees of Oxford Community School District, by, including and not

limited to, supervising, advising, and directing EC’s activities, implementing, exercising,

and effectuating formal and informal school practices and procedures, and in their roles

as school administrators and counselors.
                                              15
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.16 Filed 06/07/22 Page 16 of 32




      112. Ejak and Hopkins knew that EC was suicidal, experiencing extreme

emotional distress, and that there was reasonable and sufficient cause to believe that

EC’s parents were abusing or neglecting him.

      113. Ejak and Hopkins further knew that EC was expressing specific, violent

ideations involving firearms, was a danger to himself and others, including Plaintiff and

other Oxford High School students, and that EC had access to firearms.

      114. Ejak and Hopkins had the authority and obligation to maintain the status

quo in which EC was contained in the counseling office under direct supervision and

without access to firearms to harm himself and/or others.

      115. Ejak and Hopkins used their authority to affirmatively release EC from

the counseling office hand him his unsearched backpack, and to return him to the

classroom despite their knowledge that EC was suicidal and posed a threat to himself

and others.

      116. Ejak and Hopkins each took affirmative steps, either individually or in

concert with one another, which created and/or substantially increased the danger that

EC would escalate to actual violence, causing harm to Plaintiff.

      117. Ejak and Hopkins engaged in affirmative acts which created or greatly

increased the risk of danger to Plaintiff including but not limited to:

          a. releasing EC from the secure, supervised confines of the counseling office

              despite knowing, or having probable cause to know, that EC was suicidal

              and posed a threat to himself and others;
                                            16
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.17 Filed 06/07/22 Page 17 of 32




          b. returning to EC with his unsearched backpack containing a handgun and

             ammunition, despite knowing, or having probable cause to know, that EC

             was suicidal, had recently used a gun at a shooting range, and posed a

             threat to himself and others;

          c. promoting     a   policy,   practice,   and/or   custom    of   concealing,

             misrepresenting, minimizing, avoiding, and/or non-escalation of

             suspected or known risks of school violence and school shootings; and

          d. any and all additional affirmative acts that created and/or increased the

             danger of violence at Oxford High School that may become known

             throughout the course of this litigation.

      118. Ejak and Hopkins’ affirmative actions, set forth throughout, created

and/or increased a state-created danger that substantially increased the special danger

of harm to Plaintiff and her peers at Oxford High School, and in doing so knowingly

and recklessly disregarded the substantial risk of danger that EC posed to himself and

others.

      119. The relationship between Ejak and Hopkins, as school administrators, and

the students of Oxford High School, including Plaintiff, was such that Ejak and

Hopkins knew any student, including Plaintiff, was a foreseeable victim of EC’s acts of

violence following his release from the security and supervision of the counseling office

by Ejak and Hopkins.



                                             17
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.18 Filed 06/07/22 Page 18 of 32




      120. Ejak and Hopkins are not entitled to qualified immunity because

Plaintiff’s right to be free from state created and/or increased danger was clearly

established at the time of Ejak and Hopkins’ actions.

      121. The conduct of Ejak and Hopkins was objectively unreasonable,

performed knowingly and with deliberate indifference to the safety and rights of Oxford

High School staff and students, including Plaintiff, and caused Oxford High School

staff and students, including Plaintiff to be less safe than they were before Ejak and

Hopkins’ affirmative actions.

      122. Ejak and Hopkins knew that their conduct and affirmative actions, which

created and/or increased the risk of a school shooting, violated the clearly established

rights of Oxford High School students, including Plaintiff.

      123. Ejak and Hopkins had ample time to deliberate as to whether to release

EC, with his unsearched backpack, whom they knew to be suicidal and posed a threat

to himself and others, from the security and supervision of the counseling office to the

school environment.

      124. Ejak and Hopkins consciously disregarded the substantial risk of danger

by releasing EC, whom they knew to be suicidal and posed a threat to himself and

others, from the security and supervision of the counseling office to the school

environment.

      125. Plaintiff, as an Oxford High School student, was in a custodial or semi-

custodial relationship with OCSD and its staff, including Ejak and Hopkins, such that
                                          18
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.19 Filed 06/07/22 Page 19 of 32




Ejak and Hopkins’ deliberate indifference to the known risk of danger posed by EC

shocks the conscience.

       126. Ejak and Hopkins’ affirmative actions—releasing EC from the security

and supervision of the counseling office in a suicidal state—served no legitimate

countervailing or mandatory duty.

       127. But for the affirmative actions of Ejak and Hopkins to change the status

quo by releasing EC, in a suicidal state, from the security and supervision of the

counseling office, with his unsearched backpack containing a handgun and ammunition,

EC would not have shot, injured, or killed anyone at Oxford High School, including

Plaintiff.

       128. But for Ejak and Hopkins affirmative actions, releasing EC from the

security and supervision of the counseling office, the status quo of safety would have

remained.

       129. Ejak and Hopkins’ actions affirmatively created new dangers that did not

exist so long as EC remained in the security and supervision of the counseling office,

separated from his backpack, and affirmatively increased dangers that did not exist so

long as the status quo remained.

       130. It is shocking to the conscience that Ejak and Hopkins would release EC

from the security and supervision of the counseling office and return him to the school

environment where they knew: that EC was suicidal, that EC had an obsession with

firearms and gun violence, that EC had been researching ammunition at school the day
                                          19
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.20 Filed 06/07/22 Page 20 of 32




before, that EC had been watching violent videos of shootings at school earlier that

day, that EC had drawn disturbing and violent images and words depicting gun violence

and his mental disturbances, that EC was suicidal, that EC’s parents were informed of

EC’s suicidal ideations and refused to take him for treatment, that EC was a threat to

himself and others, that EC had access to firearms, and that they had the authority and

obligation to keep EC away from the school environment.

      131. In comparison to the public at large, as a student of Oxford High School,

Plaintiff was specifically at risk and exposed to the dangers presented by the affirmative

actions of Ejak and Hopkins, including releasing EC from the security and supervision

of the counseling office to the school environment, where EC committed the school

shooting.

      132. As a result of their affirmative actions, Ejak and Hopkins deprived

Plaintiff of her rights secured by the Fourteenth Amendment to the U.S. Constitution

in violation of 42 U.S.C. § 1983.

      133. As a direct and foreseeable consequence of Ejak and Hopkins’ affirmative

actions, Plaintiff was deprived of her rights under the Fourteenth Amendment to the

U.S. Constitution and thereby suffered injuries and damages.

                                    COUNT II
                      42 U.S.C. § 1983—Supervisory Liability
                       Against Defendants Throne and Wolf

      134. Plaintiff repeats and realleges the foregoing paragraphs.


                                           20
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.21 Filed 06/07/22 Page 21 of 32




       135. As set forth above, the affirmative actions of Ejak and Hopkins violated

Plaintiff’s clearly established constitutional rights.

       136. At all times relevant herein, Defendant Throne was the Superintendent of

Oxford Community School District and therefore responsible for supervising and

overseeing the actions of Defendants Wolf, Ejak, and Hopkins.

       137. Throne encouraged the specific incident of misconduct or directly

participated in it by not expelling, disciplining, or providing proper supervision for EC,

by adopting a policy, practice, and/or custom of not informing local law enforcement

of the risk of danger to Oxford High School students and staff, and by discouraging

students, parents, and staff from reporting suspected threats to the safety and security

of students and staff.

       138. At all times relevant herein, Defendant Wolf was the Principal of Oxford

High School and therefore responsible for supervising and overseeing the actions of

Defendants Ejak and Hopkins.

       139. Wolf encouraged the specific incident of misconduct or directly

participated in it by not expelling, disciplining, removing or providing proper

supervision for EC; calling Child Protective Services, Law Enforcement or school

security, and by adopting a policy, practice, and/or custom of not informing local law

enforcement of the risk of danger to Oxford High School students and staff, and by

discouraging students, parents, and staff from reporting suspected threats to the safety

and security of students and staff.
                                              21
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.22 Filed 06/07/22 Page 22 of 32




      140. By not expelling, disciplining, removing or providing proper supervision

for EC, Throne and Wolf authorized, approved, or knowingly acquiesced in Ejak and

Hopkins’ unconstitutional conduct.

      141. By adopting a policy, practice, and/or custom of not informing local law

enforcement of the risk of danger to Oxford High School students and staff, Throne

and Wolf authorized, approved, or knowingly acquiesced in Ejak and Hopkins’

unconstitutional conduct.

      142. By discouraging students, parents, and staff from reporting suspected

threats to the safety and security of students and staff, Throne and Wolf authorized,

approved, or knowingly acquiesced in Ejak and Hopkins’ unconstitutional conduct.

      143. At all relevant times, Plaintiff had the clearly established right under the

Fourteenth Amendment, to be free from danger created and/or increased by

Defendants.

      144. As set forth above, Ejak and Hopkins violated Plaintiff’s clearly

established to be free from danger created and/or increased by Defendants.

      145. Throne and Wolf at least implicitly authorized, approved, or knowingly

acquiesced in Ejak and Hopkins unconstitutional acts.

      146. Throne and Wolf acted in reckless disregard and deliberate indifference

to Plaintiff’s constitutional right to be free from danger created and/or increased by

Defendants.



                                         22
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.23 Filed 06/07/22 Page 23 of 32




      147. Throne and Wolf are not entitled to qualified immunity because the right

to be free from state created and/or increased danger was clearly established at the time

of their actions and/or omissions.

                                    COUNT III
                         42 U.S.C. § 1983—Monell Liability
              Against Defendant Oxford Community School District

      148. Plaintiff repeats and realleges the foregoing paragraphs.

      149. Defendants Oxford Community School District and its administrators,

and policy makers, including Defendants Throne, Wolf, and Ejak, adopted and

maintained official policies, practices, and customs that were the moving force behind,

and cause-in-fact, of the school shooting and injury to Plaintiff on November 30, 2021.

      150. The violation of Plaintiff’s Fourteenth Amendment rights resulted from

the execution of Oxford Community School District’s practices, unwritten policies, and

customs.

      151. These policies, practices, and customs include, but are not limited to:

           a. an official policy, practice, and/or custom of preventing staff and

              administrators from maintaining supervision over students in the

              counseling office and restricting students from returning to the classroom,

              unless there is a “disciplinary” reason to justify doing so, even where the

              student is suicidal and/or a danger to others;




                                           23
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.24 Filed 06/07/22 Page 24 of 32




        b. a policy, practice, and/or custom of concealment, misrepresentation,

           minimizing, avoiding, and non-escalation to high authorities of suspected

           or known risks of school violence;

        c. a policy, practice, and/or custom of not training staff and administrators

           to secure and/or supervise students who are suicidal and/or pose a threat

           of harm to themselves or others;

        d. a policy, practice, and/or custom of not training staff and administrators

           to properly interview and question students who are suicidal as to whether

           the student has access to a deadly weapon, including a firearm;

        e. a policy, practice, and/or custom of not training in proper methods of risk

           assessment;

        f. a policy, practice, and/or custom of disregarding, minimizing, avoiding,

           and of non-escalation of potential threats to the safety and security of staff

           and students;

        g. a policy, practice, and/or custom of discouraging students, parents, and

           staff from reporting suspected threats to the safety and security of staff

           and students;

        h. a policy, practice, and/or custom of declining to file mandatory reports of

           suspected child abuse or neglect in violation of MCL 722.623;




                                         24
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.25 Filed 06/07/22 Page 25 of 32




          i. a policy, practice, and/or custom of discouraging teachers, counselors,

              administrators, and other staff from reporting suspected child abuse or

              neglect despite their status as mandatory reporters;

          j. a policy, practice, and/or custom of not searching students’ backpacks,

              lockers, or other possessions where the student poses a threat of harm to

              himself and/or others; and

          k. any other policy, practice, or custom that may become known through the

              course of this litigation.

   152.       These policies, practices, and customs caused Oxford Community School

District employees to inflict constitutional harms by directly creating and/or increasing

that danger that Plaintiff would be injured in the November 30, 2021 school shooting.

   153.       Oxford Community School District maintains the aforementioned

customs or practices with intentional, deliberate indifference to the widespread custom

or usage of constitutional violations.

   154.       Oxford Community School District’s failure to properly train, supervise,

and/or disciplined its employees amounts to deliberate indifference to the students’,

including Plaintiff’s, constitutional rights.

   155.       As a direct and proximate result of Oxford Community School District’s

policies, practices, and customs, as stated herein, Plaintiff’s Fourteenth Amendment

rights were violated.



                                                25
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.26 Filed 06/07/22 Page 26 of 32




                                 COUNT IV
              Michigan Child Protection Law (MCL 722.621 et seq .)
 Against Defendants Oxford Community School District, Ejak, and Hopkins

   156.       Plaintiff repeats and realleges the foregoing paragraphs.

   157.       The Michigan Child Protection Law requires certain individuals, including

school administrators and counselors, who have reasonable cause to suspect child abuse

or neglect to report that abuse or neglect. MCL 722.623(1).

   158.       One who fails to report suspected child abuse or neglect, as required by

the statute, is civilly liable for the damages proximately caused by the failure. MCL

722.633(1).

   159.       Pursuant to MCL 722.623(1), Ejak and Hopkins were mandatory

reporters, required by statute to report suspected child abuse or neglect.

   160.       Ejak and Hopkins had reasonable cause to believe that EC was being

abused or neglected by his parents.

   161.       Specifically, Ejak and Hopkins knew that EC was suicidal, informed EC’s

parents that EC was suicidal and needed immediate mental health treatment, knew that

EC parents refused to provide their suicidal child with immediate mental health

treatment, and knew that EC’s parents effectively abandoned him at school.

   162.       Ejak and Hopkins knew that the failure to provide EC with mental health

treatment warranted making a report to CPS.

   163.       Ejak and Hopkins acted with gross negligence by failing to report the

suspected child abuse or neglect of EC.
                                           26
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.27 Filed 06/07/22 Page 27 of 32




   164.       Ejak and Hopkins’ failure to report was so reckless as to demonstrate a

substantial lack of concern for whether an injury would result.

   165.       Ejak and Hopkins’ failure to report was a proximate cause of Plaintiff’s

injuries and damages.

   166.       Defendant Oxford Community School District, as an employer, is

vicariously liable for the actions of its employees and agents, including Ejak and

Hopkins’ failure to report suspected child abuse or neglect.

                                     COUNT V
                                  Gross Negligence
               Against Defendants Throne, Wolf, Ejak and Hopkins

   167.       Plaintiff repeats and realleges the foregoing paragraphs.

   168.       Gross negligence occurs where there is a duty, and a breach of that duty

by conduct so reckless as to demonstrate a substantial lack of concern for whether an

injury results, causing injury.

   169.       Defendants had a duty to refrain from taking actions that were so reckless

as to demonstrate a substantial lack of concern for whether an injury results, thereby

causing injury.

   170.       In deliberate breach of their duties, Throne and Wolf concealed and

minimized the known risk of harm to Oxford High School students, and affirmatively

discouraged students, parents, and staff from reporting threats to the security and safety

of students and staff.



                                           27
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.28 Filed 06/07/22 Page 28 of 32




   171.      In deliberate breach of their duties, Throne, Wolf, Ejak, and Hopkins

failed to intervene despite having knowledge that EC was suicidal, experiencing extreme

emotional distress, and crying out for help.

   172.      In deliberate breach of their duties, Ejak and Hopkins released EC from

the safety and supervision of the counseling office despite their knowledge that EC was

suicidal and posed a threat to himself and others, thus placing Plaintiff in harm’s way.

   173.      In deliberate breach of their duties, Ejak and Hopkins failed to take any

steps, including searching EC’s backpack, locker, or other possessions, to ensure that

EC did not have access to firearms or other weapons with which to harm himself or

others, thus placing Plaintiff in harm’s way.

   174.      All of the aforementioned breaches of duty were so reckless as to

demonstrate a substantial lack of concern for whether an injury would result, and were

the cause of the November 30th shooting in which Plaintiff was injured.

   175.      Defendants’ actions and omissions were grossly negligent and proximately

caused Plaintiff’s injuries because Defendants’ actions and omissions directly placed

Plaintiff in harm’s way, provided EC with access to the handgun he used to injure

Plaintiff, and caused EC to escalate his behavior from violent ideations to violent

conduct.

   176.      As a direct and proximate result of Defendants’ actions, Plaintiff suffered

injuries including gunshot wounds and emotional distress.



                                           28
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.29 Filed 06/07/22 Page 29 of 32




                                      COUNT VI
           Violation of Article 1, § 17 of the 1963 Michigan Constitution
  Against Defendants Throne, Wolf, Ejak, Hopkins, and Oxford Community
                              School District

   177.       Plaintiff repeats and realleges the foregoing paragraphs.

   178.       Plaintiff, as a United States citizen and citizen of the State of Michigan,

pursuant to Article 1 § 17 of the Michigan Constitution, had a clearly established right

to bodily integrity and to be free from danger created and/or increased by Defendants.

   179.       As set forth above, Ejak and Hopkins violated Plaintiff’s clearly

established constitutional rights by taking affirmative actions which created and/or

increased the risk to Plaintiff of violence by a third party.

   180.       As compared to the public at large, Defendants’ affirmative actions placed

Plaintiff, as an Oxford High School student, in special danger.

   181.       Ejak and Hopkins knew or should have known that their actions

specifically endangered Plaintiff, as an Oxford High School student.

   182.       Ejak and Hopkins knew that releasing EC from the security and

supervision of the counseling office in a suicidal state posed an excessive risk to

Plaintiff’s health and safety.

   183.       Ejak and Hopkins deliberately disregarded the excessive risk to Plaintiff’s

health and safety, created by Defendants’ affirmative actions to release EC from the

security and supervision of the counseling office in a suicidal state.




                                            29
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.30 Filed 06/07/22 Page 30 of 32




   184.         It is shocking to the conscience that Ejak and Hopkins would release EC

from the security and supervision of the counseling office and return him to the school

environment where they knew: that EC was suicidal, that EC had an obsession with

firearms and gun violence, that EC had been researching ammunition at school the day

before, that EC had been watching violent videos of shootings at school earlier that

day, that EC had drawn disturbing and violent images and words depicting gun violence

and his mental disturbances, that EC was suicidal, that EC’s parents were informed of

EC’s suicidal ideations and refused to take him for treatment, that EC was a threat to

himself and others, that EC had access to firearms, and that they had the authority and

obligation to keep EC away from the school environment.

   185.         At all times relevant herein, Ejak and Hopkins were acting under the color

of state law and by way of their actions, created and/or increased danger to Plaintiff, in

reckless disregard to Plaintiff’s clearly established rights and the increased risk of danger

to Plaintiff.

   186.         As a result of their affirmative actions, Ejak and Hopkins deprived

Plaintiff of her clearly established rights secured by Article 1 § 17 of the Michigan

Constitution.

   187.         As a direct and foreseeable consequence of Ejak and Hopkins’ affirmative

actions, Plaintiff was deprived of her rights under Article 1 § 17 of the Michigan

Constitution and thereby suffered injuries and damages, including but not limited to

past and future medical expenses, emotional distress, and mental anguish.
                                             30
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.31 Filed 06/07/22 Page 31 of 32




   WHEREFORE as a result of Defendants’ conduct, Plaintiff has incurred injuries

and damages, including but not limited to past and future medical expenses, emotional

distress, physical and emotional pain and suffering, fright and shock, loss of earning

capacity, reasonable expenses for caretaking, mental health services and emotional

support dog, and the loss of the ordinary pleasures of life.

                                RELIEF REQUESTED

      Plaintiff respectfully requests that the Court grants the following relief:

      A.     Legal Relief:

             1. Past and future compensatory emotional distress damages in whatever
                amount she is found to be entitled;

             2. Future Economic damages in whatever amount she is found to be
                entitled;

             3. Past and damages for medical expenses in whatever amount she is
                found to be entitled;

             4. Exemplary and punitive damages in whatever amount she is found to
                be entitled;

             5. An award of interest, costs, reasonable attorney fees, and expert
                witness fees.

      B.     Equitable Relief:

             1. An injunction from this Court prohibiting any further acts of
                wrongdoing against Plaintiff;

             2. An award of interest, costs, and reasonable attorney fees; and,

             3. Whatever other equitable relief appears appropriate at the time of final
                judgment.

                                           31
Case 2:22-cv-11251-MAG-APP ECF No. 1, PageID.32 Filed 06/07/22 Page 32 of 32




 Dated: June 7, 2022                         DEBORAH GORDON LAW
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                                    JURY DEMAND

       Plaintiff Kylie Ossege, by and through her attorneys, Deborah Gordon Law,

demands a trial by jury of all the issues in this cause that are so triable.

 Dated: June 7, 2022                         DEBORAH GORDON LAW
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                                             32
